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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov

                                                 Filed: August 30, 2021


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Mr. Bernard Eric Restuccia
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P.O. Box 30212
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                     Re: Case No. 20-1973, Phillip Gibbs v. Erica Huss
                         Originating Case No. : 2:14-cv-14028

Dear Counsel,

   The court today announced its decision in the above-styled case.

    Enclosed is a copy of the court's opinion together with the judgment which has been entered
in conformity with Rule 36, Federal Rules of Appellate Procedure.

                                                 Yours very truly,

                                                 Deborah S. Hunt, Clerk



                                                 Cathryn Lovely
                                                 Deputy Clerk

cc: Ms. Kinikia D. Essix

Enclosures

Mandate to issue.
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                                RECOMMENDED FOR PUBLICATION
                                Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                       File Name: 21a0201p.06

                    UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT



                                                             ┐
 PHILLIP CHARLES GIBBS,
                                                             │
                                 Petitioner-Appellant,       │
                                                              >        No. 20-1973
                                                             │
        v.                                                   │
                                                             │
 ERICA HUSS, Warden,                                         │
                                 Respondent-Appellee.        │
                                                             ┘

                         Appeal from the United States District Court
                        for the Eastern District of Michigan at Detroit.
                   No. 2:14-cv-14028—Matthew F. Leitman, District Judge.

                                     Argued: July 20, 2021

                              Decided and Filed: August 30, 2021

                     Before: BOGGS, CLAY, and WHITE, Circuit Judges.
                                  _________________

                                            COUNSEL

ARGUED: Benton C. Martin, FEDERAL DEFENDER OFFICE, Detroit, Michigan, for
Appellant. B. Eric Restuccia, OFFICE OF THE MICHIGAN ATTORNEY GENERAL,
Lansing, Michigan, for Appellee. ON BRIEF: Benton C. Martin, FEDERAL DEFENDER
OFFICE, Detroit, Michigan, for Appellant. B. Eric Restuccia, OFFICE OF THE MICHIGAN
ATTORNEY GENERAL, Lansing, Michigan, for Appellee.
                                      _________________

                                             OPINION
                                      _________________

       BOGGS, Circuit Judge. Petitioner Phillip Gibbs appeals the district court’s denial of his
petition for a writ of habeas corpus. He claims that the Michigan trial court violated his public-
trial right by barring his family and other members of the public from entering the courtroom
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during voir dire. On direct appeal, the Michigan Court of Appeals remanded for the trial court to
hold an evidentiary hearing on the issue, but the trial court did not hold such a hearing and
denied any relief.   The Michigan Court of Appeals then held that Mr. Gibbs’s claim was
defaulted because he did not contemporaneously object to the courtroom closure during voir dire.
But Mr. Gibbs alleges that he and his attorney were completely ignorant of the trial court’s
closure rule and that they had no reason to know that they should have objected to a closure.

       If Mr. Gibbs’s allegations be true, then he would have had no reason to object. The
application of the ordinarily adequate contemporaneous-objection rule would, in such unique
circumstances, be an inadequate bar to federal review. Because it is unclear from the record
whether Mr. Gibbs was aware of or reasonably should have been aware of the courtroom closure,
we remand for the district court to determine these key facts and proceed accordingly.

                                      I. BACKGROUND

A. The Crime

       The following facts, drawn from the last reasoned state-court opinion in Mr. Gibbs’s case,
are “presumed to be correct” unless Mr. Gibbs rebuts them by clear and convincing evidence.
28 U.S.C. § 2254(e)(1).

       On October 26, 2010, Mr. Gibbs (then aged 16) and his codefendant in state court, Tyrell
Henderson, robbed the store Wholesale 4 U in Flint, Michigan. People v. Gibbs, 830 N.W.2d
821, 823 (Mich. Ct. App. 2013) (per curiam). They had gone to the store together “numerous
times that day,” trying to pawn some jewelry.       Ibid. After learning that the jewelry was
worthless, Mr. Henderson bought a video game, but he later returned it, telling one of the store
owners that it did not work. Ibid. As the owner tried to troubleshoot the game, Mr. Henderson
“struck him in the head with a gun,” severing part of his ear. Id. at 823–24. Mr. Henderson
ordered the owner to open the store’s cash register and safe, and he also took his jewelry, money,
and wallet. Ibid.
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         For his part, Mr. Gibbs was not armed, but he took the opportunity to relieve the other
owner of her jewelry, purse, and identification. Id. at 823. He also took an iPod and several
laptops from the store. Ibid. And one of the two men took another employee’s wallet. Id. at 824.

         Police later searched Mr. Gibbs’s mother’s house.                Ibid.   There, officers found “a
sandwich bag containing jewelry,” another bag with “papers and the identifications of the three
victims,” and “several watches” from Wholesale 4 U. Ibid. Both Mr. Gibbs and Mr. Henderson
“admitted their involvement” in separate police interrogations, but Mr. Gibbs claimed that he had
“had no idea” that Mr. Henderson was planning to rob the store. Ibid. He also claimed that Mr.
Henderson had “ordered him to take the victims’ belongings and other store items” and that he
had complied only because he feared the consequences otherwise. Ibid.

B. State Proceedings

         Both men took their cases to trial. Id. at 823. They had a joint trial with separate juries.
Ibid. Just before jury selection began, the trial judge commented in open court:

         All right. We’re gonna get—going to get the jury to come upstairs now and so
         we’re going to have an order of sequestration for witnesses only. And if any
         spectators would like to come in they’re welcome but they do have to sit over
         here by the law clerk, not in the middle of the pool.

But three of Mr. Gibbs’s family members supplied sworn affidavits that they “and other
members of the public were prevented from entering the courtroom during jury selection in the
case” and had to “wait[] in the hallway outside the courtroom” until jury selection had ended.
The family members eventually left the courthouse “after being told that jury selection would
take all day.” They were able to enter the courtroom the next day, “but only after the jury had
been picked.”1 Mr. Gibbs did not object to the closure of the courtroom during voir dire. He
represents that because the court did not inform him that it would bar entry during the voir dire
proceedings, he had “no reason to object to closure of the courtroom, and so he did not.” He also
represents that he did not learn that his family members were excluded from voir dire until after
trial.

          1The record does not indicate when his family members or other members of the public attempted to enter
the voir dire proceedings or whether they were present at the courthouse before jury selection began.
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         At trial, Mr. Gibbs argued the affirmative defense of duress, taking the stand to testify.
Gibbs, 830 N.W.2d at 824. Mr. Gibbs’s jury convicted him of two counts of armed robbery, one
count of unarmed robbery, and one count of conspiracy to commit armed robbery. Id. at 823. He
was sentenced to 17 ½ years to 30 years of imprisonment. Ibid.2

         Mr. Gibbs moved for and received a remand from the state court of appeals to the trial
court to, among other things, “develop his argument that he was denied the right to a public
trial.” Id. at 824. In particular, he argued that the trial court’s closure of the courtroom,
excluding his family from viewing jury selection, violated that right. Ibid. On remand, the trial
court stated that “its procedure is that, after jury selection begins, it does not allow people to
enter or leave the courtroom,” and anyone who had entered after jury selection began would have
had to leave. Ibid.

         I’m telling you, after we start, when the panel is in the room, you’re absolutely
         right no one would be coming or going. I agree with that. If that’s a violation,
         then I violated.

The trial court neither held an evidentiary hearing nor granted relief.

         The court of appeals affirmed. Gibbs, 830 N.W.2d at 824. It held that, because Mr.
Gibbs had not objected contemporaneously to the closure of the courtroom, he had forfeited that
claim. Ibid. The court applied Michigan’s plain-error review standard under People v. Vaughn,
821 N.W.2d 288, 297 (Mich. 2012).3 Gibbs, 830 N.W.2d at 824.




         2Mr.  Henderson’s jury convicted him of three counts of armed robbery, one count of conspiracy to commit
armed robbery, one count of assault with intent to rob while armed, one count of carrying a concealed weapon, and
possession of a firearm during the commission of a felony. Gibbs, 830 N.W.2d at 823. He received a term of
imprisonment of 225 to 480 months. Ibid. The Michigan Court of Appeals vacated his conviction of assault with
intent to rob while armed on double-jeopardy grounds but otherwise affirmed his convictions and sentence. Ibid.
         3The federal plain-error standard under United States v. Olano, 507 U.S. 725 (1993), forms the basis for the
Michigan plain-error standard:
         In analyzing a forfeited claim of error, a defendant is not entitled to relief unless he can establish
         (1) that the error occurred, (2) that the error was “plain,” (3) that the error affected substantial
         rights, and (4) that the error either resulted in the conviction of an actually innocent defendant or
         seriously affected the fairness, integrity, or public reputation of judicial proceedings.
Vaughn, 821 N.W.2d at 297.
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       It first held that the trial court did not err, determining that the trial court’s statement
accurately expressed that spectators were welcome to enter before jury selection began—it was
coming and going during jury selection that the trial court had prohibited. Gibbs, 830 N.W.2d at
825. Given that the trial court found it “‘too confusing’ to allow individuals to come and go
during jury selection,” the trial court’s reason for “partially closing” the courtroom during voir
dire was a “substantial reason for the closure” under People v. Russell, 825 N.W.2d 623, 631
(Mich. Ct. App. 2012). Gibbs, 830 N.W.2d at 825.

       The state court of appeals further held that, even had there been error, Mr. Gibbs would
not be entitled to relief under the plain-error doctrine. Ibid. In Vaughn, also a case about the
public-trial right, the Michigan Supreme Court held that the first two elements of plain error—
error that is clear or obvious—were satisfied by the trial court’s closure of the courtroom during
voir dire, and it had also observed that its precedents suggested that “a plain structural error”
affects a defendant’s substantial rights, satisfying the third plain-error element.           Vaughn,
821 N.W.2d at 304. But the Vaughn court held that the closure had not “seriously affected the
fairness, integrity, or public reputation of judicial proceedings.” Id. at 305 (quoting People v.
Carines, 597 N.W.2d 130, 143 (Mich. 1999)). It reasoned that “the presence of the venire
lessens the extent to which [the court’s] closure implicates the defendant’s public trial right
because the venire, derived from and representative of the public, guarantees that the voir dire
proceedings will be subject to a substantial degree of continued public review.” Ibid. (alteration
in original) (quoting United States v. Gupta, 650 F.3d 863, 870–71 (2d Cir. 2011), vacated and
superseded by 699 F.3d 682 (2d Cir. 2012)). Moreover, the closure in Vaughn had been “limited
to a vigorous voir dire process that ultimately yielded a jury that satisfied both parties.” Ibid.

       In Mr. Gibbs’s case, similar to Vaughn, “both parties engaged in vigorous voir dire,”
“there were no objections to either party’s peremptory challenges,” “each side expressed
satisfaction with the jury,” and “the venire itself was present,” lessening “the extent to which the
closure implicated the defendant’s right and guarantee[ing] that the proceedings were subject to a
substantial degree of public review.” Gibbs, 830 N.W.2d at 825. Thus, under Vaughn, any error
neither “resulted in the conviction of an actually innocent defendant” nor “seriously affected the
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fairness, integrity, or public reputation of judicial proceedings.” Id. at 824–25 (quoting Vaughn,
821 N.W.2d at 297).

        Mr. Gibbs applied for leave to appeal to the Michigan Supreme Court on the public-trial
ground, a Miranda ground, and a sentencing ground. That court denied his application in an
order stating that it was “not persuaded that the questions presented should be reviewed.” People
v. Gibbs, 838 N.W.2d 875, 875 (Mich. 2013) (mem.). Although the order did cite a case relevant
to the sentencing issue Mr. Gibbs had raised, it did not discuss the merits of the public-trial issue.
Ibid.

C. Federal Proceedings

        In 2014, Mr. Gibbs filed his first § 2254 petition in the district court. The district court
held the habeas proceedings in abeyance so that Mr. Gibbs could exhaust an
ineffective-assistance claim in state court; after doing so, he moved to reopen his federal habeas
case. He proceeded on an amended petition that contained the public-trial claim, the Miranda
claim, the sentencing claim, and the newly exhausted ineffective-assistance claim.4

        The warden responded that the public-trial claim was procedurally defaulted. Relying on
Bickham v. Winn, 888 F.3d 248 (6th Cir. 2018), the warden argued that trial counsel’s failure to
follow Michigan’s contemporaneous-objection requirement resulted in a procedural default even
if trial counsel and the defendant did not know that the courtroom had been closed.

        The district court “reluctantly” agreed that, under Bickham, Mr. Gibbs’s public-trial claim
was procedurally defaulted. It described what it believed were three similarities between this
case and Bickham: “(1) the state trial courts made statements suggesting that the courtroom
would be open, (2) court security staff nonetheless closed the courtroom outside of the presence
of defense counsel and defendant, and, as a result, (3) neither defense counsel nor defendant was
aware of the closure.”




        4The     district court found the three claims besides the public-trial claim to be meritless and denied a
certificate of appealability on them, so we do not address them further.
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         The district court opined that we had decided Bickham incorrectly. In Bickham, we cited
two Michigan cases for the proposition that the contemporaneous-objection rule was “firmly
established and regularly followed,” as is required for a state procedural rule to be “adequate” to
foreclose review of a federal constitutional claim, Ford v. Georgia, 498 U.S. 411, 423–24 (1991).
Those cases were People v. Gratton, 309 N.W.2d 609, 610 (Mich. Ct. App. 1981), and People v.
Smith, 282 N.W.2d 227, 229 (Mich. Ct. App. 1979). Bickham, 888 F.3d at 252. The district
court argued that those cases were inapposite to Mr. Bickham’s case because, in both Gratton
and Smith, the defendants had known of their respective courtroom closures but Mr. Bickham
had not known of the closure in his case. The district court also cited several other cases from
throughout the country holding that a defendant does not forfeit a public-trial claim by failing to
object to a courtroom closure of which he is unaware.5 Nevertheless, the district court concluded
that Bickham was on-point and binding precedent; thus, Mr. Gibbs had procedurally defaulted his
claim.

         The district court then considered whether the default was excused by cause and
prejudice. Mr. Gibbs argued that conduct attributable to the state prevented him from making a
contemporaneous objection and that he therefore had cause for his procedural default under
Strickler v. Greene, 527 U.S. 263 (1999).              The district court conceded that this argument
“seem[ed] to have real merit.” But it concluded that a finding of cause on that basis would be
inconsistent with Bickham, in which we stated that Mr. Bickham had “not present[ed] evidence
of either cause and prejudice or a fundamental miscarriage of justice,” Bickham, 888 F.3d at 252.
The district court determined that, because the circumstances surrounding the courtroom closure
in Bickham and Mr. Gibbs’s case were essentially the same, the finding of no cause in Bickham
compelled a finding of no cause for Mr. Gibbs. The district court declined to reach the issue of
prejudice. Further finding that Mr. Gibbs had not shown that there would be a fundamental



         5These  cases included United States v. Gupta, 699 F.3d 682, 689–90 (2d Cir. 2012) (vacating and
superseding the earlier panel holding on which the Michigan case Vaughn had relied); Eversole v. Commonwealth,
600 S.W.3d 209, 214 (Ky. 2020); Shootes v. State, 20 So. 3d 434, 436–38 (Fla. Dist. Ct. App. 2009); and
Commonwealth v. Johnson, 456 A.2d 988, 994 (Pa. Super. Ct. 1983). The district court also noted two out-of-circuit
cases that held that a defendant cannot be penalized for failure to object to something unknown to him. United
States v. Hanno, 21 F.3d 42, 45 n.2 (4th Cir. 1994); United States v. Douglas, 155 F.2d 894, 896 (7th Cir. 1946).
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miscarriage of justice in enforcing the procedural default, the district court denied the public-trial
claim as procedurally defaulted.

       But the district court issued a certificate of appealability, finding it at least debatable
whether Mr. Gibbs had “stated a valid claim of the denial of a constitutional right” and likewise
at least debatable whether the finding of procedural default had been correct. Mr. Gibbs filed a
timely notice of appeal, and we now exercise jurisdiction under 28 U.S.C. § 2253(a).

                                          II. ANALYSIS

A. Procedural Default

       A procedural default is a “critical failure to comply with state procedural law.” Trest v.
Cain, 522 U.S. 87, 89 (1997). A default generally bars federal review of the merits of a claim—
even a constitutional claim—“that a state court declined to hear because the prisoner failed to
abide by a state procedural rule.” Martinez v. Ryan, 566 U.S. 1, 9 (2012). A habeas claim is
procedurally defaulted if and only if “(1) the petitioner failed to comply with a state rule; (2) the
state enforced the rule against the petitioner; and (3) the rule is an ‘adequate and independent’
state ground foreclosing review of a federal constitutional claim.” Bickham, 888 F.3d at 251
(quoting Willis v. Smith, 351 F.3d 741, 744 (6th Cir. 2003)).

       A common example of a procedural default is a failure to raise a claim in state court in a
timely manner.      That is what happened in Bickham—the defendant failed to object
contemporaneously with the closure of the courtroom during voir dire. Id. at 251–52. As a result,
he forfeited full review of his public-trial claim in the state court. Although the state court
applied plain-error review, we still consider such an impediment to merits review to be
enforcement of a procedural rule. Williams v. Burt, 949 F.3d 966, 973 (6th Cir.), cert. denied,
141 S. Ct. 276 (2020).

       Federal courts usually decline to meddle with state criminal judgments under these
circumstances “[o]ut of respect for finality, comity, and the orderly administration of justice.”
Dretke v. Haley, 541 U.S. 386, 388 (2004).           But there are exceptions, one of which is
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 encapsulated in the third element of our definition of procedural default. If a state procedural
 ground is not “adequate,” it does not foreclose federal review. Bickham, 888 F.3d at 251.

 B. Adequacy of the State Procedural Rule

    1. Legal Framework

        What constitutes an adequate procedural rule is a question of federal law. Lee v. Kemna,
 534 U.S. 362, 375 (2002). A determination of adequacy “generally requires ‘an examination of
 the legitimate state interests behind the procedural rule in light of the federal interest in
 considering federal claims.’” Clifton v. Carpenter, 775 F.3d 760, 764 (6th Cir. 2014) (quoting
 Maupin v. Smith, 785 F.2d 135, 138 (6th Cir. 1986)). And a rule may be inadequate for one of
 several reasons. First, if the rule violates the United States Constitution, it cannot “serve as an
 adequate basis for the state court’s decision . . . under the adequate and independent state ground
 doctrine.” Ibid. (alteration in original) (quoting Doan v. Brigano, 237 F.3d 722, 727–28 (6th Cir.
 2001), overruled on other grounds by Wiggins v. Smith, 539 U.S. 510 (2003)); see also Richard
 H. Fallon, Jr., et al., Hart and Wechsler’s The Federal Courts and the Federal System 535 (7th
 ed. 2015) (“[R]eview plainly cannot be foreclosed by a litigant’s noncompliance with a state
 procedural rule that, on its face or as applied, violates the Due Process Clause.”).

        But constitutionality is not the only bar. A rule might be inadequate because it is novel or
 inconsistently applied by the state’s courts. Sutton v. Carpenter, 745 F.3d 787, 790 (6th Cir.
 2014) (“Our review . . . is circumscribed by deference to ‘a State’s application of its own firmly
 established, consistently followed, constitutionally proper procedural rules.’” (quoting Trevino v.
 Thaler, 569 U.S. 413, 421 (2013))); see also Rogers v. Alabama, 192 U.S. 226 (1904) (holding it
 inadequate to strike two-page motion to quash indictment as “prolix”); James v. Kentucky,
 466 U.S. 341 (1984) (holding that a state rule requiring a jury-charge request be labeled
 “instruction” rather than “admonition” was inadequate because it had not been consistently
 applied in earlier cases); Ford v. Georgia, 498 U.S. 411 (1991) (holding that a state procedural
 rule not yet established at the time of petitioner’s trial and which expressly applied only
 prospectively was inadequate to preclude Supreme Court review).
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        And an ordinarily adequate procedural rule may nevertheless be inadequate in
 “exceptional cases in which exorbitant application of a generally sound rule renders the state
 ground inadequate to stop consideration of a federal question.” Lee, 534 U.S. at 376. The Lee
 Court drew from Osborne v. Ohio, 495 U.S. 103 (1990). There, the Ohio Supreme Court had
 held that Mr. Osborne’s constitutional objections to jury instructions were procedurally barred
 because he had “failed to object contemporaneously to the judge’s charge.” Lee, 534 U.S. at 376–
 77. But Mr. Osborne had already objected to one of the challenged instructions earlier in the
 proceedings, “and the trial judge, ‘in no uncertain terms,’ had rejected [his] argument.” Id. at
 377 (quoting Osborne, 495 U.S. at 124). Thus, in that “atypical instance,” in which a jury-
 instruction objection had already been made and decisively overruled, Ohio’s enforcement of the
 contemporaneous-objection rule “serve[d] ‘no perceivable state interest’” and was therefore
 inadequate to prevent Supreme Court review. Id. at 378 (quoting Osborne, 495 U.S. at 124).

        In Lee, three defense witnesses, who were to testify in support of the defendant’s alibi,
 left the courthouse for an at-the-time-unknown reason. Lee, 534 U.S. at 369. (They later
 attested that an officer of the court had told them that “their testimony would not be needed that
 day.” Id. at 373 & n.6.) Mr. Lee orally moved the trial court for a “continuance until the next
 morning, to gain time to enforce the subpoenas he had served on the witnesses.” Id. at 369. The
 trial judge denied the motion because he could not hold court the next day—his daughter would
 be in the hospital, and he would have to attend to her. Ibid. The court also denied a continuance
 until the next week because there was another case set for trial. Id. at 370. Mr. Lee argued on
 appeal that the trial court had denied him his right to present a defense. Id. at 371.

        In its appellate brief, the state raised for the first time that Mr. Lee’s motion was improper
 because it did not satisfy Missouri Supreme Court Rule 24.10 (requiring certain factual showings
 be made in an application for a continuance). Lee, 534 U.S. at 371–72. In its opinion denying
 relief, the state court of appeals raised on its own a separate procedural rule, Missouri Supreme
 Court Rule 24.09 (requiring an application for a trial continuance be made on a written motion
 with an affidavit). Lee, 534 U.S. at 372–73. According to Missouri, those two rules “work
 together to enhance the reliability of a trial court’s determination of whether to delay a scheduled
 criminal trial due to the absence of a witness.” Id. at 380 (emphasis omitted) (quoting Brief for
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 Respondent at 29, Lee, 534 U.S. 362 (No. 00-6933)). But “neither the prosecutor nor the trial
 judge so much as mentioned the Rules as a reason for denying Lee’s continuance motion.” Ibid.

        In finding the Missouri rules inadequate to support a procedural default, the Court
 observed that the state had presented no case law for the proposition that “flawless compliance”
 with the rules was required “in the unique circumstances” presented—namely, “the sudden,
 unanticipated, and at the time unexplained disappearance of critical subpoenaed witnesses on
 what became the trial’s last day.” Id. at 382. Also important to the Court’s decision was that
 there was no evidence that “formally perfect compliance with the Rules would have changed the
 trial court’s decision.” Id. at 387. And, as the Court noted, if the procedural default were upheld,
 it would not have mattered even if the witnesses truly had been told to leave “on the instigation
 of a prosecutor who knew the judge would be at the hospital with his daughter the next day.”
 Ibid. The Court rejected a doctrine under which a “particular application [of the Missouri Rule],
 never mind how egregious, would be ignored so long as the Rule, like the mine run of procedural
 rules, generally serves a legitimate state interest.” Ibid.

    2. Comparison of This Case with Bickham

        Here, Mr. Gibbs argues that he did not procedurally default his public-trial claim by
 failing to contemporaneously object. His only route to that conclusion is to show that the state
 procedural rule is inadequate. But his obstruction to showing inadequacy, as the district court
 pointed out, is Bickham, which held that Michigan’s contemporaneous-objection rule is an
 adequate state procedural ground to support a default. Thus, he can show inadequacy only if he
 distinguishes his case factually from Bickham.

        In Bickham, the petitioner had been aware of other members of the public interested in
 observing voir dire because those members of the public, including Mr. Bickham’s family, were
 already in the courtroom. Bickham, 888 F.3d at 250. Thus, when those family members did not
 reenter the courtroom after the venire had been seated, Mr. Bickham was on notice that there was
 a potential violation of the public-trial right. See id. at 251. Moreover, Mr. Bickham was
 better-positioned than the trial judge to know that there were members of his own family who
 were not in the courtroom: he knew what his family looked like and that they were present in the
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 courthouse—he had just seen them in the courtroom—while the trial judge would have had little
 reason to know who Mr. Bickham’s family members were. Id. at 251–52. Thus, Mr. Bickham
 would reasonably have known to object once he saw that his family had not returned to the
 courtroom after the venire entered.

         By contrast, here, Mr. Gibbs represents that he was in “complete ignorance” of the trial
 court’s closure. Before the venire entered, the court had stated, “And if any spectators would
 like to come in they’re welcome but they do have to sit over here by the law clerk, not in the
 middle of the pool.” That can reasonably be construed as a statement that spectators could enter
 at any time during voir dire. There is nothing in the record indicating that there was a written
 local rule prohibiting anyone’s entry or exit during voir dire—as far as it appears, this was the
 trial judge’s personal rule to minimize “confusi[on]” during jury selection. And the record
 neither proves nor disproves that Mr. Gibbs knew of his family’s plan to attend voir dire.6

         Thus, if Mr. Gibbs did not know of the judge’s rule and there were no other
 circumstances that would have reasonably put him on notice of the courtroom closure (such as
 knowing that his family members were coming to voir dire), then he was not on notice of a
 potential violation of his public-trial right. That would take his case outside the scope of
 Bickham, and the contemporaneous-objection rule would have to be viewed in light of his
 particular circumstance—that he had not had a reasonable opportunity to object
 contemporaneously to the closure.

     3. Inadequacy of the Rule If Mr. Gibbs Had No Reasonable Notice of the Courtroom Closure

         If it be true that Mr. Gibbs neither was aware nor reasonably should have been aware of
 the courtroom’s closure during voir dire, then Michigan’s contemporaneous-objection rule would
 be inadequate to support a default of his public-trial claim in his unique circumstances. This is


         6There    is one hint that perhaps he had known that at least his mother would be at the courthouse. At the
 remand hearing directed by the state appellate court, the trial judge recalled that Mr. Gibbs’s clothes had not been
 fitting correctly and thought that his mother had come to bring him different clothes. But the court stated only that
 “maybe his family can figure out for tomorrow . . . if he’s changed sizes.” (emphasis added) And his mother was
 on the witness list, and there was a sequestration order in effect, so she would not have been able to sit in on the
 proceedings. So merely his mother’s absence from the courtroom would not reasonably have put him on notice of
 the closure.
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 true for several reasons. First, no perceivable state interest is served by requiring a defendant to
 object to a constitutional violation he did not know and should not reasonably have known of.
 Cf. Osborne, 495 U.S. at 124; Lee, 534 U.S. at 378. And the federal interest in providing a
 forum to vindicate federal rights necessarily outweighs a complete lack of state interest in
 enforcing a procedural rule. See Clifton, 775 F.3d at 764.

        Second, requiring a contemporaneous objection to a violation of which a defendant is
 neither aware nor reasonably should be aware is neither “firmly established” nor “consistently
 followed” by the Michigan courts. Just as Missouri failed to do in Lee, the warden here cites no
 Michigan case law for the proposition that Michigan requires a contemporaneous objection in the
 “unique circumstances this case presents,” Lee, 534 U.S. at 382, instead resting on the general
 adequacy of the contemporaneous-objection rule. Indeed, it appears that such an application of
 the contemporaneous-objection rule would be a novel one, and novelty of a procedural rule is a
 reason to find it inadequate to foreclose federal review. Cf. Ford, 498 U.S. 411.

        Third, there is no evidence that the trial court would have allowed his family to spectate
 during voir dire even had Mr. Gibbs raised a contemporaneous objection to the courtroom. See
 Lee, 534 U.S. at 387 (“Nor is there any indication that formally perfect compliance with the
 Rules would have changed the trial court’s decision.”). Indeed, there is affirmative evidence to
 the contrary. The trial judge herself stated on the record:

        I’m telling you, after we start, when the panel is in the room, you’re absolutely
        right no one would be coming or going. I agree with that. If that’s a violation,
        then I violated.

 (emphasis added). The trial court was firm on enforcing its closure rule. The state’s ostensible
 purpose for its contemporaneous-objection rule—to promote judicial economy by allowing the
 trial court to rectify errors immediately—would not be advanced by its enforcement here. See
 Osborne, 495 U.S. at 124 (holding that, “under the circumstances, nothing would be gained” by
 requiring adherence to a procedural rule for preserving an argument after the trial court “in no
 uncertain terms” had already rejected the argument once before).

        Last, if Mr. Gibbs really did not know and should not reasonably have known that his
 public-trial right was being violated, then requiring him to object to preserve that right would be
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 an “exorbitant” and “egregious” application of Michigan’s contemporaneous-objection rule. See
 Lee, 534 U.S. at 376, 387 (holding that state procedural rules were inadequate to support a
 default in a challenge to a violation of a federal right that the state affirmatively caused and that
 required quick action to correct). Indeed, such a rule would deny due process. See Gupta,
 699 F.3d at 690 (“[W]e are loath to impute to a defendant—at least in the circumstances here—
 an obligation to raise a legal objection as to which his own defense counsel is ignorant during the
 throes of trial.”); United States v. Tramunti, 500 F.2d 1334, 1341 n.3 (2d Cir. 1974) (“Defense
 counsel cannot fairly be penalized for failure to raise at trial an issue of which he was, without
 his own fault, ignorant.”); United States v. Douglas, 155 F.2d 894, 896 (7th Cir. 1946) (“Counsel
 for the government was the moving factor in the [submission to the jury of hearsay affidavits of
 which the defendant was not made aware] and must be held responsible for a procedure
 which . . . was unfair, prejudicial and attended with dangerous consequences.”); see also Davis v.
 Wechsler, 263 U.S. 22, 24 (1923) (“Whatever springes the State may set for those who are
 endeavoring to assert rights that the State confers, the assertion of Federal rights, when plainly
 and reasonably made, is not to be defeated under the name of local practice.”).

        Thus, under the assumption that Mr. Gibbs neither knew of nor reasonably should have
 known of the courtroom closure, his failure to contemporaneously object would be an inadequate
 state procedural ground for a default.

        The district court shall determine in the first instance whether Mr. Gibbs was aware of the
 courtroom closure or whether there were other circumstances that should have reasonably put
 him on notice of the closure. If he was not—and could not reasonably have been—aware of the
 closure, then Bickham does not control his case. Rather, the contemporaneous-objection rule
 would not have been an adequate state procedural ground to default Mr. Gibbs’s claim, and there
 would be no procedural default.

 C. Cause and Prejudice

        One last note on cause and prejudice. We do not decide those issues here, but if the
 district court finds that Mr. Gibbs’s claim is indeed procedurally defaulted, it will then need to
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 address them. In case it does, we note that Bickham does not institute a per se rule that a
 petitioner can never show cause if he fails to object contemporaneously to a courtroom closure.

        The issues of cause and prejudice were not before us in Bickham. In his briefing,
 Mr. Bickham stood on his argument that he had not procedurally defaulted and did not attempt
 to show cause and prejudice. Appellant’s Opening Brief at 12–40, Bickham, 888 F.3d 248 (No.
 16-2174), ECF No. 13 (arguing that the rule enforced in Mr. Bickham’s case was not an adequate
 ground to support a procedural default and proceeding to an argument on the merits); Appellant’s
 Reply Brief at 1–14, Bickham, 888 F.3d 248 (No. 16-2174), ECF No. 23 (same). And the only
 part of the warden’s brief discussing cause and prejudice was boilerplate discussion about
 ineffective assistance of counsel (inapplicable to Mr. Bickham’s case) followed by an argument
 that, because Mr. Bickham had not argued that his counsel had been ineffective, he had not
 shown cause. Appellee’s Br. at 24–25, Bickham, 888 F.3d 248 (No. 16-2174), ECF No. 17.
 Thus, our statement that Mr. Bickham had not shown cause and prejudice was a statement that
 those issues had not been argued, not that he could not have shown cause and prejudice.

                                      III. CONCLUSION

        For the reasons above, we vacate the district court’s judgment and its opinion and order
 of September 9, 2020, and we remand for further proceedings consistent with this opinion.
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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                              No. 20-1973


  PHILLIP CHARLES GIBBS,
        Petitioner - Appellant,
                                                                                FILED
        v.                                                                 Aug 30, 2021
                                                                       DEBORAH S. HUNT, Clerk
  ERICA HUSS, Warden,
        Respondent - Appellee.



                        Before: BOGGS, CLAY, and WHITE, Circuit Judges.

                                         JUDGMENT
                            On Appeal from the United States District Court
                             for the Eastern District of Michigan at Detroit.

       THIS CAUSE was heard on the record from the district court and was argued by counsel.

        IN CONSIDERATION THEREOF, it is ORDERED that the district court’s judgment and its
 opinion and order of September 9, 2020 are VACATED, and the case is REMANDED for further
 proceedings consistent with the opinion of this court.


                                                ENTERED BY ORDER OF THE COURT




                                                Deborah S. Hunt, Clerk
